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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

THOMAS JONES, JOSEPH CHARLES
LOHFINK, SUE BEAVERS, RODOLFOA
REL, and HAZEL REED THOMAS, on behalf
of themselves and other similarly situated                              PLAINTIFFS

v.                                                CAUSE NO. 1:14CV447-LG-RHW

SINGING RIVER HEALTH SERVICES
FOUNDATION, et al.                                                     DEFENDANTS

                             CONSOLIDATED WITH

REGINA COBB, SUSAN CREEL, and
PHYLLIS DENMARK, on behalf of
themselves and others similarly situated                                PLAINTIFFS

v.                                                   CAUSE NO. 1:15CV1-LG-RHW

SINGING RIVER HEALTH SYSTEM, et al.                                    DEFENDANTS

                                        AND

MARTHA EZELL LOWE, individually
and on behalf of a class of similarly
situated employees                                                      PLAINTIFFS

v.                                                  CAUSE NO. 1:15CV44-LG-RHW

SINGING RIVER HEALTH SYSTEM, et al.                                    DEFENDANTS

     ORDER REQUIRING SINGING RIVER HOSPITAL SYSTEM TO FILE A
      RESPONSE TO KPMG LLP’S MOTION TO COMPEL ARBITRATION

       BEFORE THE COURT is the Motion to Compel Arbitration [89] filed by the

defendant KPMG LLP. After reviewing the Motion, the record in this matter, and

the applicable law, the Court finds that Singing River Hospital System should be

required to file a response in opposition to the Motion.
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                                   DISCUSSION

        In its Motion to Compel Arbitration, KPMG raises an arbitration clause

contained in an attachment to engagement letters entered into by KPMG and

Singing River Hospital System. Although only Singing River Hospital System

signed the Engagement Letters, KPMG claims that the Jones and Lowe plaintiffs

are bound by the arbitration clauses pursuant to the doctrine of equitable estoppel.

The Jones and Lowe plaintiffs have filed a response in opposition to the Motion.

Although Singing River requested additional time to respond to the Motion, it never

filed a response.

        The Mississippi Attorney General has opined that state agencies and political

subdivisions, including county entities, generally are not permitted to enter into

binding arbitration agreements unless authorized to do so by the Legislature. See

MS. Att'y Gen. Op., No. 2002-0295, 2002 WL 1579650 Clark (June 7, 2002); see also

MS Att'y Gen. Op., No. 2001 WL 283630 Austin (Feb. 16, 2001). As a result, the

Court finds that Singing River Hospital System should be required to file a

response to the Motion to Compel Arbitration. The response should address (1) the

issue of whether Singing River Hospital System had authority to enter into a

binding arbitration agreement with KPMG, and (2) the issue of whether the

arbitration agreement is valid and enforceable. The response must be filed by

August 13, 2015. KPMG may file a reply to Singing River’s response by August 24,

2015.



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      IT IS, THEREFORE, ORDERED AND ADJUDGED that the Motion to

Compel Arbitration [89] filed by the defendant KPMG LLP is TAKEN UNDER

ADVISEMENT. Singing River Hospital System is ordered to file a response to the

Motion to Compel Arbitration by August 13, 2015.

      IT IS, FURTHER, ORDERED AND ADJUDGED that KPMG may file a

reply to Singing River’s Response by August 24, 2015.

      SO ORDERED AND ADJUDGED this the 27th day of July, 2015.



                                             s/   Louis Guirola, Jr.
                                             LOUIS GUIROLA, JR.
                                             CHIEF U.S. DISTRICT JUDGE




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